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                   18   CITY AND COUNTY OF SAN FRANCISCO

                   19
                                                       UNITED STATES DISTRICT COURT
                   20
                                                 NORTHERN DISTRICT OF CALIFORNIA
                   21

                   22   CITY AND COUNTY OF SAN FRANCISCO,                Case No. 3:24-CV-02311-TSH

                   23                     Plaintiff,                    STIPULATED DISMISSAL OF PLAINTIFF’S
                                                                        CLAIMS AGAINST THE CITY OF OAKLAND
                   24               v.                                  BY AND THROUGH ITS CITY COUNCIL
                                                                        WITHOUT PREJUDICE
                   25   CITY OF OAKLAND AND PORT OF
                        OAKLAND,
                   26
                                          Defendants.
                   27

                   28   AND RELATED COUNTERCLAIM
COOLEY LLP
ATTORNEYS AT LAW                                                                         STIPULATED DISMISSAL WITHOUT
                                                                                                             PREJUDICE
                                                                                            CASE NO.: 3:24-CV-02311-TSH
                        310746919
                         Case 3:24-cv-02311-TSH              Document 78       Filed 11/13/24      Page 2 of 3



                    1               Plaintiff City and County of San Francisco (“Plaintiff”), and Defendant the City of Oakland

                    2   by and through its City Council (“City of Oakland”), (together, the “Parties” and, each, a “Party”),

                    3   by and through their undersigned attorneys, hereby stipulate and agree pursuant to Federal Rule of

                    4   Civil Procedure 41(a)(1)(A)(ii) that all claims Plaintiff asserted against Defendant the City of

                    5   Oakland by and through its City Counsel in the above-captioned action are hereby dismissed

                    6   without prejudice, with each Party to bear its own costs, expenses, and attorneys’ fees.

                    7               Defendant City of Oakland, a municipal corporation, acting by and through its Board of

                    8   Port Commissioners (“Port of Oakland”) agrees to the foregoing dismissal of claims as between

                    9   Plaintiff and the City of Oakland. Nothing herein is intended to address or dismiss any claims or

                   10   relief between Plaintiff and the Port of Oakland, including but not limited to claims for fees and

                   11   costs. The dismissal applies only to the City of Oakland.

                   12

                   13   IT IS SO STIPULATED.

                   14    Dated: November 13, 2024                          COOLEY LLP
                   15

                   16                                                        /s/ John H. Hemann
                                                                           John H. Hemann
                   17
                                                                           Attorneys for Plaintiff
                   18                                                      City and County of San Francisco
                   19
                         Dated: November 13, 2024                          FENNEMORE WENDEL & FENNEMORE
                   20                                                      CRAIG, P.C.
                   21

                   22                                                        /s/ Brandi Balanda
                                                                           Brandi Balanda
                   23
                                                                           Attorneys for Defendant City of Oakland, a
                   24                                                      municipal corporation, acting by and through its
                                                                           Board of Port Commissioners
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COOLEY LLP
ATTORNEYS AT LAW                                                                                STIPULATED DISMISSAL WITHOUT
                                                                                                                    PREJUDICE
                                                                                                   CASE NO.: 3:24-CV-02311-TSH
                        310746919
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                    1    Dated: November 13, 2024                       OFFICE OF THE OAKLAND CITY
                                                                        ATTORNEY
                    2

                    3
                                                                          /s/ Christina Lum
                    4                                                   Christina Lum
                    5                                                   Attorneys for Defendant City of Oakland by and
                                                                        through its City Council
                    6

                    7

                    8                                         ATTETESTATION
                    9                  Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all signatories
                   10   listed, and whose behalf the filing is submitted, concur in the filing’s content and have authorized
                   11   the filing.

                   12                                                           /s/ John H. Hemann
                                                                               John H. Hemann
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COOLEY LLP
ATTORNEYS AT LAW                                                                               STIPULATED DISMISSAL WITHOUT
                                                                          3                                        PREJUDICE
                                                                                                  CASE NO.: 3:24-CV-02311-TSH
                        310746919
